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                              EXHIBIT A
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                                                                            Page 1

1               IN THE UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF ILLINOIS
2                        EASTERN DIVISION
3     ALAN CARLSON & PETER    §
      DeLUCA, individually    §
4     and on behalf of a      §
      class of similarly      §
5     situated individuals, §
           Plaintiffs,        §
6                             §
      VS                      §    Civil Action No. 13-cv-2635
7                             §
      NORTHROP GRUMMAN        §
8     CORPORATION and the     §
      NORTHROP GRUMMAN        §
9     SEVERANCE PLAN,         §
           Defendants.        §
10
11
12     ------------------------------------------------------
           ORAL DEPOSITION OF NORTHROP GRUMMAN CORPORATION
13
                                    SERVICE PLAN
14
       BY AND THROUGH ITS DESIGNATED 30(B)(6) REPRESENTATIVE
15
                               MICHAEL LEE PENKERT
16
                         DECEMBER 16, 2016
17     -------------------------------------------------------
18
19                   ORAL DEPOSITION OF NORTHROP GRUMMAN
20    CORPORATION SERVICE PLAN BY AND THROUGH ITS DESIGNATED
21    30(B)(6) REPRESENTATIVE MICHAEL LEE PENKERT, produced as
22    a witness at the instance of the PLAINTIFFS, and duly
23    sworn, was taken in the above-styled and numbered cause
24    on the 16th day of December, 2016, from 9:25 a.m. to
25    5:52 p.m., before TINA TERRELL BURNEY, CSR in and for

                                  Veritext Legal Solutions
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                                                                        Page 2

1     the State of Texas, reported by machine shorthand, at
2     the offices of Northrop Grumman Corporation, 8710
3     Freeport Parkway, Irving, Texas 75063, pursuant to the
4     Federal Rules of Civil Procedure.
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23                          Veritext Legal Solutions
                                  Mid-Atlantic Region
                         1250 Eye Street NW - Suite 350
24                          Washington, D.C.           20004
25

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1           Q.     With respect to TS where the decision, at

2     least prior to February 2014 -- strike that.                  Let me

3     rephrase the question.

4                         With respect to TS, prior to February of

5     2014 where eligibility for severance was dependent on

6     each division, operating unit or even program or

7     contract, with respect to providing employees a cover

8     memo or a severance eligibility letter, how was that

9     process made or determined?

10          A.     Are you speaking to the process to where they

11    actually received the documents?

12          Q.     I'm talking about the process in deciding who

13    would receive -- who would receive the cover memo or

14    severance eligibility letter.

15          A.     That's actually two steps.            From 2011 to 2014,

16    the TS sector enacted a -- again, a high plan, but then

17    it would be on a division-by-division subunit, even down

18    to contract level, that that division general manager

19    and the HR person who supports the division, they would

20    take a look at the situation, usually around financials,

21    to then determine whether or not that division, subunit,

22    contract, that they were going to extend layoff --

23    severance benefits to anyone who was laid off.

24                        There was actually a form that was

25    implemented that then would be put in place for that

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1     division GM, HR person and the sector financial person

2     to capture their decision on whether or not to provide

3     benefits for, again, that division, whatever.

4                        So in other words, that new form that was

5     put in from 2011 to 2014 was essentially opting people

6     into paying severance.         So TS as a whole had decided to

7     high plan, but on a case-by-case basis.

8                        So each division then had to -- every

9     time a decision was made or an action was taken around a

10    layoff, would -- their division GM would have to

11    generate that -- let's see, it was the severance plan

12    authorization form.

13                       And then that would be reviewed and then

14    a determination was made for, however that group was

15    defined, whether or not that group was going to get

16    severance benefits.        That was Step 1.

17                       Step 2 is, then based upon that decision,

18    then the HR team would execute -- administer, like I

19    said earlier, the plan to if the employees were getting

20    benefits and also met the eligibility requirements that

21    you see in the plan document, that they would make sure

22    the employee received all the material that we've

23    described before, including the severance eligibility

24    document.

25                       If a decision was made not to give that

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                                                                          Page 73

1     subunit any benefits, then essentially the employee

2     would receive the reduction in force notification letter

3     just essentially saying that, "You are being laid off."

4             Q.     And the decision that was being made was being

5     made on a -- at least a group-by-group contract?

6                           MS. ROSS:      Objection, form.

7             A.     Correct.

8             Q.     Is that right?

9             A.     I'm sorry?

10            Q.     The decision that was being made is by groups.

11    Whether they be a particular operating unit or program

12    or contract, it's by group, not individually?

13                          MS. ROSS:      Objection, vague.

14            A.     Well, the decision was being made by the

15    division general manager, in support with HR and finance

16    on which division would get the benefits.                   It could also

17    go down to even to a level of a contract based upon the

18    financials for that group.

19            Q.     But if it went all the way down to a contract,

20    it would be all individuals on the contract?

21            A.     Correct.

22            Q.     And was that decision being made with respect

23    to a particular division, particular contract at the

24    time that people were being terminated or some prior

25    time?

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1           A.     The discussion was typically started whenever

2     there was indications that they had to do some sort of

3     reduction in force.         So as part of the process of even

4     who is going to be affected by the reduction in force,

5     who may be leaving and who may be staying, the

6     discussion would always be at the beginning of, "So are

7     we going to look to give the severance to -- are we

8     going to opt this group into the plan, the high plan,

9     for this?"

10                        And then it would start the process that

11    I described earlier on the form, where they would do the

12    review and make sure so all that was in place before the

13    final decision was made, and then for -- and definitely

14    before the employee was ever notified.

15          Q.     But the decision as to whether or not a

16    particular division, contract, program would

17    participate, or those employees would be eligible for

18    severance was made only after there was a determination

19    that people were going to be laid off?

20          A.     Well, the baseline was that in TS from 2011 to

21    2014, that no one would receive benefits, so you had to

22    opt in.     So the opting in was done on a

23    division-by-division basis.            Those decisions sometimes

24    could have been made even as early as soon as the

25    program -- sorry.

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1                         The new approach to severance was

2     announced in 2011.         It could have been made as early as

3     that, or it could have been made closer to whenever they

4     have determined that a certain group was going to be

5     affected through a layoff.

6           Q.     So some -- you're telling me some divisions

7     within TS may have made a decision as of, say, October

8     2011, "All employees in our division are going to get

9     severance"?

10          A.     They could have, then opted in, filling out

11    the forms so it is being reviewed.               I do know that

12    certain divisions had decided that they were going to

13    not pay anyone, but they still had the opportunity to

14    later on, if they wanted to opt them in, they could.

15          Q.     Do you know which divisions made which

16    decisions?

17          A.     I do not.

18          Q.     Do you know who would know that?

19          A.     It would probably be the HR VP or business

20    leaders for each of those groups.

21          Q.     And if you wanted to find that information

22    out, where would you go?

23          A.     I'd have to look in our company database to

24    determine who the HR people were at the time for those

25    groups.

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1     same question, you can say "asked and answered."

2                         Please read back my question.

3                         (Record read.)

4                         MS. ROSS:      Objection, asked and answered.

5           A.     No.

6           Q.     Would you agree with me that Exhibit Number 19

7     does not disclose that a memo -- strike that.

8                         Within the TS sector between 2011 and

9     2014, were financial implications or financial

10    considerations, did that play a role in deciding whether

11    or not a particular program was going to receive

12    severance?

13          A.     Yes.

14          Q.     Was that fact disclosed to participants?

15          A.     Not to my knowledge.

16          Q.     Do you have an understanding in terms of what

17    factors went into -- the financial factors that went

18    into assessing whether a particular program or division

19    was going to receive severance?

20          A.     Not necessarily the details, but I do know

21    that TS, especially when it was put together and even

22    until today, runs on a very low margin, and so they do

23    watch very carefully each program, contract, division to

24    make sure they are hitting their financials.                  So

25    affordability has always been a key word used in TS.

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1                          So it would have been for whatever the

2     situation was at the time for the division to make

3     whatever decision they needed to for severance and,

4     actually, lots of different things that they would

5     participate in with the company.

6            Q.     Between 2011 and 2014, were there any

7     disclosures to employees of TS prior to layoff whether

8     they would receive a memo if they were laid off and met

9     other eligibility criteria in the plan?

10           A.     No, not to my knowledge.

11           Q.     So earlier today we had -- we had talked about

12    the discovery that there were employees who continued to

13    receive health benefits based on the BPC code.                    Do you

14    remember that?

15           A.     Yes.

16           Q.     Prior to October 2011, were there employees

17    who were laid off who did not receive an eligibility

18    memo but received continued health benefits?

19           A.     Understanding the BPC code and the fact that

20    also in combination with the use of the reduction in

21    force separation code, it is highly probable that an

22    employee would receive benefits, even though they did

23    not receive an eligibility letter.

24           Q.     And would the answer be the same that prior to

25    2011, it would have been highly probable that employees

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